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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
    AMERICAN ALLIANCE FOR
    EQUAL RIGHTS,
                                        Plaintiff,
          v.                                         Case No. 1:23-cv-23189-KMW

    MORRISON & FOERSTER LLP,
                          Defendant.
                              AMENDED COMPLAINT
         Plaintiff, American Alliance for Equal Rights, brings this complaint for declara-

   tory relief, injunctive relief, and nominal damages against Defendant, Morrison & Foer-

   ster LLP, and alleges as follows:

         1.     The law abhors racial discrimination. The lawyers who help administer

   that law are supposed to abhor it too. The ethical rules punish lawyers who “engage in

   conduct in connection with the practice of law” that discriminates “on account of race.”

   Florida Rules of Professional Conduct 4-8.4(d).

         2.     Yet Morrison has been racially discriminating against future lawyers for

   more than a decade. The firm’s Keith Wetmore 1L Fellowship for Excellence, Diver-

   sity, and Inclusion excludes certain applicants based on their skin color. These lucrative

   positions are six-figure jobs that come with five-figure stipends. Yet applicants do not

   qualify unless they are “African American/Black, Latinx, Native Americans/Native

   Alaskans, and/or members of the LGBTQ+ community.” So between two heterosex-

   ual applicants—one black and one white—the latter cannot apply based solely on race.




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          3.      This kind of rank discrimination was never lawful, even before SFFA v.

   Harvard held that colleges cannot use race in admissions. Morrison is an employer mak-

   ing hiring decisions, not a university pursuing educational benefits, and its gross racial

   exclusion is the kind of quota that the law has always banned. See generally Parents Involved

   in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 722-23 (2007).

          4.      But in case Morrison needed a reminder, SFFA reaffirms that “[e]liminat-

   ing racial discrimination means eliminating all of it.” 143 S. Ct. 2141, 2161 (2023). No

   racial discrimination is benign: It always “demeans the dignity and worth’” of every

   American “‘to be judged’” by his or her race “‘instead of by his or her own merit and

   essential qualities.’” Id. at 2170.

          5.      That principle is true under the Constitution, true under Title VI, and true

   under 42 U.S.C. §1981—the federal statute that bars private employers, like Morrison,

   from discriminating based on race when making contracts. Because Morrison’s

   Wetmore fellowship is a contract that discriminates on its face, it violates §1981.

                                           PARTIES
          6.      Plaintiff, American Alliance for Equal Rights, is a nationwide membership

   organization dedicated to challenging distinctions and preferences made on the basis of

   race and ethnicity.

          7.      The Alliance has members who are ready and able to apply for Morrison’s

   Wetmore fellowship in 2024 (and 2L fellowship in 2025), including Members A and B.




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         8.     Defendant, Morrison & Foerster LLP, is an international law firm. It has

   an office in Miami, Florida. It “will be awarding Wetmore 1L Fellowships” in its Miami

   office and elsewhere. The Miami office recruits Wetmore fellows, including in 2023,

   and Morrison has a Miami-specific application for the fellowship.

                           JURISDICTION AND VENUE
         9.     This Court has subject-matter jurisdiction under 28 U.S.C. §1331.

         10.    Venue is proper under 28 U.S.C. §1391 because Morrison resides in Miami

   and a substantial part of the events or omissions giving rise to the claims occurred in

   Miami.

         11.    Morrison has an office in Miami, contracts to do business in Miami, re-

   cruits fellows to its Miami office and runs the challenged fellowship in that office, has

   committed the alleged tortious conduct in Miami, and otherwise has contacts that make

   the exercise of personal jurisdiction in this district comport with due process.

         12.    Morrison’s advertisements for the fellowship are published and widely cir-

   culated on the internet, including on Morrison’s website, Facebook, popular job sites

   like LinkedIn, and law-school websites across the country. Morrison’s various adver-

   tisements for the fellowship reach, and are intended by it to reach, Miami and students

   interested in applying to its Miami office. Morrison also sends instructions on how to

   apply to the fellowship to law schools in Miami, and to other law schools to recruit their

   students to its Miami office.




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                                          FACTS
         A.     Morrison operates the Wetmore 1L fellowship, which ex-
                clude certain applicants based on race.
         13.    Morrison created its 1L Wetmore fellowship in 2012 and has run it every

   year since, awarding “136 fellowships” “to date.” Morrison “will be awarding” these

   fellowships in “Miami” and several other Morrison offices. Candidates “should apply

   to one location only.”

         14.    Morrison plans to operate the fellowship again in 2024, without changes.

   Its application process for 2024, it has announced, “will open in November of 2023.”

         15.    Applicants to the 1L fellowship often lack any law-school grades by the

   application deadline. Morrison nevertheless encourages applicants to apply without

   grades and then “follow up” with their grades later. Decisions are made “by mid-Feb-

   ruary.”

         16.    The Wetmore fellowship is a prestigious program.

         17.    Students in their first year of law school are eligible to apply to the

   Wetmore fellowship, which consists of a paid summer-associate position and a $50,000

   stipend ($25,000 after the 1L summer and $25,000 after the 2L summer if the student

   accepts a full-time position after graduation). Though more common for 2Ls, paid sum-

   mer-associate positions are incredibly rare for 1Ls. Summer associates are paid like en-

   try-level associates at the firm, who at Morrison make $215,000/year. (And even for




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   2Ls, summer-associate positions do not normally pay an additional stipend or bonus on

   top of that pro-rated salary.)

          18.    In addition to summer employment at the firm, 1L fellows receive “sub-

   stantive training and engagement with MoFo attorneys, including members of firm lead-

   ership.”

          19.    Morrison’s summer-associate program “is designed to provide the stu-

   dents with mentoring and training opportunities through direct exposure to partners

   and associates, career development, and networking opportunities with fellow summer

   associates. The summer associates received technical and soft-skill training in areas such

   as written and oral communication, legal problem-solving and creative analysis, and

   teamwork and client service.” In addition, summer associates “participat[e] in a variety

   of substantive projects, allowing them to demonstrate and hone their writing, research,

   and analytical skills” and “participat[e] in several firmwide training programs.”

          20.    1L Wetmore fellows are invited to return to the firm as 2L Wetmore fel-

   lows. Summer associates, including 2L Wetmore fellows, are Morrison’s primary source

   of new associate hires.

          21.    Under the heading “Eligibility Criteria,” Morrison states that applicants

   cannot apply to the Wetmore fellowship unless the meet five requirements, including a

   diversity requirement: “Membership in a historically underrepresented group in the le-

   gal profession, including racial/ethnic minority groups and members of the LGBTQ+

   community.”

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            22.   On its job-posting page (including the page for the Miami office), Morri-

   son defines that category to mean “specifically African American/Black, Latinx, Native

   Americans/Native Alaskans, and/or members of the LGBTQ+ community.” (Empha-

   sis added).

            23.   In other words, if they are heterosexual, applicants are disqualified if they

   are white, Arab American, Asian American, or otherwise not one of Morrison’s favored

   races.

            B.    Morrison’s racial exclusions injure the Alliance’s members.
            24.   The Alliance has members who are harmed by Morrison’s racially discrim-

   inatory fellowship, including Members A and B.

            25.   Member A is ready and able to apply to Morrison’s 1L Wetmore fellow-

   ship in 2024 and 2L Wetmore fellowship in 2025, if a court orders Morrison to stop

   racially discriminating.

            26.   Member A satisfies all the criteria for the 1L fellowship, except the dis-

   criminatory one. As a white, heterosexual man, he does not belong to a group histori-

   cally underrepresented in the legal profession.

            27.   Member A is a U.S. citizen.

            28.   Member A could join Morrison for a full 1L summer program and at least

   five weeks of his 2L summer.




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          29.    Member A is a first-year student in good standing at an ABA-accredited

   law school. His law school is highly ranked and well-regarded, and Morrison has previ-

   ously hired its graduates as associates.

          30.    Member A has a demonstrated record of academic achievement, excellent

   writing and interpersonal skills, and leadership and community involvement. He at-

   tended an Ivy League college, where he was actively involved in several debating organ-

   izations and served as a peer counselor. He is an accomplished writer—authoring a

   best-selling book, high-level research papers, and numerous op-eds—who focuses on

   policy issues, including diversity and race. He has held senior leadership positions in

   several nonprofits and has worked on political campaigns and grassroots efforts both

   locally and nationally.

          31.    Member A wants to apply to the fellowship because it is a prestigious pro-

   gram (at one of the country’s best-known firms) that would provide him with great

   professional opportunities. Member A believes the fellowship would provide him

   meaningful work experience, help him create professional connections, and connect

   him with professional mentors.

          32.    Member A is also drawn to the fellowship by the fact that Morrison will

   pay him tens of thousands of dollars (as a mere law student), offer additional employ-

   ment as a second-year summer associate, and offer possible employment (after gradua-

   tion) as a full-time associate. Member A would use the money he earns at the fellowship

   to help cover his living expenses while he’s in school.

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          33.    Member A’s first preference—where he would apply if Morrison were or-

   dered to stop racially discriminating—is Morrison’s office in Miami. He would like to

   live and work in Miami as an entry-level attorney. Member A has several close friends

   in Miami, and Miami has a strong religious community that he would like to join. He

   previously considered moving to Miami, before deciding to go to law school.

          34.    Member A is prepared to meet the fellowship’s requirements and expec-

   tations if he is accepted and joins. If a court orders Morrison to stop racially discrimi-

   nating, he would assemble and promptly submit all the requested application materials,

   including his law-school grades once they become available.

          35.    Member B is ready and able to apply to Morrison’s 1L Wetmore fellow-

   ship in 2024 and 2L Wetmore fellowship in 2025, if a court orders Morrison to stop

   racially discriminating.

          36.    Member B satisfies all the criteria for the 1L fellowship, except the dis-

   criminatory one. He is not “African American/Black, Latinx, Native America[n]/Na-

   tive Alaska[n], and/or [a] membe[r] of the LGBTQ+ community.” And though he does

   not consider himself white, men of his ethnicity are not a group historically underrepre-

   sented in the legal profession.

          37.    Member B is a U.S. citizen.

          38.    Member B could join Morrison for a full 1L summer program and at least

   five weeks of his 2L summer.




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          39.    Member B is an incoming 1L at an ABA-accredited law school. His law

   school is highly ranked and well-regarded, and Morrison has previously hired its grad-

   uates as associates.

          40.    Member B has a demonstrated record of academic achievement, excellent

   writing and interpersonal skills, and leadership and community involvement. He at-

   tended a world-renowned university, where he graduated with top honors and was

   heavily involved with several debating organizations. He is an accomplished writer who

   has written for several publications, including on issues of race and diversity, and au-

   thored a lengthy thesis to obtain his master’s degree from a well-known international

   university. He has held senior leadership positions in several student groups, including

   a political group that he refounded at his university. He is also fluent in two languages

   and has basic knowledge of three more.

          41.    Member B wants to apply to the fellowship because it is a prestigious pro-

   gram (at one of the country’s best-known firms) that would provide him with great

   professional opportunities. Member B believes the fellowship would provide him

   meaningful work experience, help him create professional connections, and connect

   him with professional mentors.

          42.    Member B is also drawn to the fellowship by the fact that Morrison will

   pay him tens of thousands of dollars (as a mere law student), offer additional employ-




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   ment as a second-year summer associate, and offer possible employment (after gradua-

   tion) as a full-time associate. Member B would use the money he earns at the fellowship

   to help cover his living expenses during law school.

          43.    Member B’s first preference—where he would apply if Morrison were or-

   dered to stop racially discriminating—is Morrison’s office in Miami. He would like to

   live and work in Miami as an entry-level attorney. Member B has enjoyed visiting Miami

   and has close friends who live there.

          44.    Member B is prepared to meet the fellowship’s requirements and expec-

   tations if he is accepted and joins. If a court orders Morrison to stop racially discrimi-

   nating, he would assemble and promptly submit all the requested application materials,

   including his law-school grades once they become available.

          45.    Members A and B joined the Alliance because they support this mission,

   as well as this lawsuit.

          46.    The Alliance is referring to Members A and B with pseudonyms because

   they are young law students who, if their participation in this litigation becomes public,

   fear reprisal from other students, their professors, future employers, the public, and

   Morrison itself (should they ever get the chance to apply on equal footing).




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                                   CLAIM FOR RELIEF
                                         COUNT
                     Violation of the Civil Rights Act of 1866
                                    42 U.S.C. §1981
         47.    The Alliance repeats and realleges each of its prior allegations.

         48.    Section 1981 states that “[a]ll persons … shall have the same right … to

   make and enforce contracts … and to the full and equal benefit of all laws … as is

   enjoyed by white citizens.” 42 U.S.C. §1981(a).

         49.    This statute “protects the equal right of all persons … without respect to

   race.” Domino’s Pizza, Inc v. McDonald, 546 U.S. 470, 474 (2006) (cleaned up). Its “broad

   terms” bar discrimination “against, or in favor of, any race.” McDonald v. Santa Fe Trail

   Transp. Co., 427 U.S. 273, 298 (1976).

         50.    Section 1981 authorizes both equitable and damages. Johnson v. Ry. Express

   Agency, Inc., 421 U.S. 454, 459-60 (1975).

         51.    Morrison is violating §1981 by expressly excluding certain applicants from

   the fellowship based on race.

         52.    The fellowship implicates the activities enumerated under §1981, includ-

   ing “making … of contracts.” 42 U.S.C. §1981(b). A contract “need not already exist.”

   Domino’s Pizza, 546 U.S. at 475. Section 1981 “protects the would-be contractor along

   with those who have already made contracts.” Id. Thus, section 1981 “offers relief when

   racial discrimination blocks the creation of a contractual relationship.” Id.




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          53.    The fellowship involves and is designed to lead to contractual relation-

   ships between Morrison and the fellows. In exchange for paid employment and a sti-

   pend, the fellows agree to work at the firm as summer associates.

          54.    Morrison’ facial race-based discrimination is intentional. Under §1981, “a

   plaintiff who alleges a policy that is discriminatory on its face is not required to make

   further allegations of discriminatory intent or animus.” Juarez v. Nw. Mut. Life Ins. Co.,

   Inc., 69 F. Supp. 3d 364, 370 (S.D.N.Y. 2014).

          55.    Morrison cannot escape liability for racial discrimination by saying that it

   also discriminates against applicants who are not LGBTQ+. An employer cannot “dis-

   criminate against some employees on the basis of race … merely because he favorably

   treats other members” of that race. Connecticut v. Teal, 457 U.S. 440, 455 (1982). An

   employer who refuses to hire “black women,” for example, cannot escape liability for

   racial discrimination just because it’s willing to hire white women and black men. Jefferies

   v. Harris Cnty. Cmty. Action Ass’n, 615 F.2d 1025, 1034 (5th Cir. 1980). “So long as the

   plaintiff’s [race] was one but-for cause of that decision, that is enough.” Bostock v. Clayton

   Cnty., 140 S. Ct. 1731, 1739 (2020). Plus discriminating against students because they

   are not LGBTQ+ is illegal too. See Bozarth v. Md. State Dep’t of Educ., 2021 WL 1225448,

   at *18 (D. Md. Mar. 31).




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                                PRAYER FOR RELIEF
         The Alliance respectfully asks this Court to enter judgment in favor of it and

   against Morrison and to provide the following relief:

         A.     a declaration that Morrison’s Wetmore fellowship violates §1981;
         B.     a temporary restraining order and preliminary injunction barring Morrison
                from closing the fellowship’s application window, selecting fellows, en-
                forcing the fellowship’s racially discriminatory eligibility requirements, or
                considering race as a factor when selecting fellows;

         C.     a permanent injunction ordering Morrison to end the Wetmore fellow-
                ship; barring Morrison from considering race as a factor when selecting
                fellows; ordering Morrison to formulate new eligibility requirements for
                the fellowship that are strictly race neutral; and, if necessary, ordering
                Morrison to redo applications and selections for the fellows in a strictly
                race-neutral manner, including by letting 1Ls who were not previously el-
                igible to apply as 2Ls;
         D.     nominal damages of $1;

         E.     reasonable costs and expenses of this action, including attorneys’ fees, un-
                der 42 U.S.C. §1988 and any other applicable law; and
         F.     all other relief that the Alliance is entitled to.




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    Dated: August 22, 2023                  Respectfully submitted,

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